                                       Case 3:14-cr-00175-WHA Document 1294 Filed 02/04/21 Page 1 of 3




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                                   6                                UNITED STATES DISTRICT COURT

                                   7
                                                                   NORTHERN DISTRICT OF CALIFORNIA
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                                  10   UNITED STATES OF AMERICA,
                                  11                  Plaintiff,                             No. CR 14-0175 WHA

                                  12           v.
Northern District of California
 United States District Court




                                  13   PACIFIC GAS AND ELECTRIC                              ORDER REQUESTING
                                       COMPANY,                                              FURTHER INPUT ON
                                  14                                                         PROPOSED CONDITIONS
                                                      Defendant.
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                                  17        The Court is willing to limit the considerations PG&E must use to implement the new

                                  18   proposed conditions, but finds the Priority 1 and Priority 2 limitation is too restrictive and will

                                  19   not sufficiently protect California from wildfires started by PG&E.

                                  20        The limited way in which PG&E seeks to implement Proposed Condition 11 would leave

                                  21   too many risks unaddressed. It would allow PG&E, in determining which distribution lines to

                                  22   de-energize, to ignore the threat of trees tall enough to be blown onto the lines. Indeed,

                                  23   counsel for PG&E admitted that its proposed procedure would not have resulted in

                                  24   consideration of the tall Gray Pine looming over the Girvan Line at (or near) the site of the

                                  25   Zogg Fire or the other tall Gray Pines of concern.

                                  26        The Court is willing to accept PG&E’s limitations to No. 11, provided one further

                                  27   consideration is employed, namely taking into account the approximate number of trees

                                  28   (healthy or not) along a line (or discrete segment of line) tall enough to be blown onto the line
                                       Case 3:14-cr-00175-WHA Document 1294 Filed 02/04/21 Page 2 of 3




                                   1   in a windstorm. This approximation could be as simple as ranking the number along any given

                                   2   line as “None,” “Few,” “Average,” or “Above Average.” For a line rated “Above Average,”

                                   3   for example, the wildfire risk would be treated as greater than if the line were rated “Average.”

                                   4   Thus, for a line that had no Priority 1 or Priority 2 tickets, this further consideration might

                                   5   counsel in favor of de-energizing the line due to, for example, its “Above Average” number of

                                   6   tall trees capable of being blown onto the line.

                                   7         For purposes of this further consideration, there would be no need to go in and decide

                                   8   which trees were healthy or not. Even healthy trees, if tall enough, pose a risk of falling on

                                   9   PG&E’s distribution lines in a windstorm, as counsel for PG&E stated several times at the

                                  10   hearing on February 3.

                                  11         Therefore, Proposed Condition 11 is revised as follows:

                                  12                Proposed Condition 11: In determining which distribution lines in
Northern District of California
 United States District Court




                                                    Tier 2 or Tier 3 to de-energize during a PSPS, PG&E must take
                                  13                into account all information in its possession and in the possession
                                                    of its contractors and subcontractors concerning the extent to
                                  14                which trees and/or limbs are at risk of falling on those lines in a
                                                    windstorm. In determining which distribution lines to de-energize
                                  15                during a PSPS event, PG&E will implement this condition by
                                                    July 1, 2021, by considering the existence of all outstanding
                                  16                vegetation management work tagged “Priority 1” or “Priority 2”
                                                    within PG&E’s service territory that is subject to potential
                                  17                de-energizations. PG&E shall also consider the approximate
                                                    number of trees tall enough to fall on the line irrespective of the
                                  18                health of the tree and irrespective of whether the tree stands
                                                    outside or inside prescribed clearances. The latter may be done by
                                  19                simply rating the total approximate number of such tall trees along
                                                    a line as “None,” “Few,” “Average” or “Many,” and by treating the
                                  20                “Many” category as posing a greater risk than the “Average”
                                                    category and the “Average” category as posing a greater risk than
                                  21                the “Few” category and so on.
                                  22         Proposed Condition 12 is revised as follows:

                                  23                Proposed Condition 12: To the extent that such information shows
                                                    that such trees and limbs present a safety hazard in the event of a
                                  24                windstorm, PG&E must make a specific determination with
                                                    respect to that distribution line and it must de-energize it unless
                                  25                PG&E finds in writing that there are specific reasons to believe
                                                    that no safety issue exists. PG&E will implement this condition by
                                  26                July 1, 2021.
                                  27
                                             These proposals are not yet final.
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                                       Case 3:14-cr-00175-WHA Document 1294 Filed 02/04/21 Page 3 of 3




                                   1        By noon on FEBRUARY 19, all parties and amici must submit any proposed modification

                                   2   and/or objections. By NOON ON FEBRUARY 26, all replies will be permitted. A further zoom

                                   3   hearing shall be held on MARCH 9 AT 8:00 AM.

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                                   5        IT IS SO ORDERED.

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                                   7   Dated: February 4, 2021.

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                                                                                          WILLIAM ALSUP
                                  10                                                      UNITED STATES DISTRICT JUDGE
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Northern District of California
 United States District Court




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